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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



 UNITED STATES OF AMERICA,                        )    CASE NO. 1:05CR0327-17
                                                  )
        Plaintiff,                                1
                                                  )
 vs.                                              )    Judge John M. Manos
                                                  1
 JERMAINE WRICE,                                  )
                                                  1
        Defendant.                                )    ORDER

        On November 9,2005, a multi-count Superseding Indictment was filed charging Jermaine

 Wrice, Defendant, with one (1) count of conspiracy to possess with intent to distribute a

 controlled substance in violation of Title 21 of the United States Code, Section 846; and five (5)

 counts of unlawful use of a communication facility to facilitate acts constituting a felony under

 21 U.S.C. 4 846, all in violation of Title 18 of the United States Code, Section 2 and Title 21 of

 the United States Code, Section 843(b). (Docket No. 296.)

        On November 18,2005, the above-captioned matter was referred to a United States

 Magistrate Judge pursuant to General Order 99-49, with the consent of the parties, for the

 purposes of arraigning Defendant and accepting his guilty plea. At a hearing held on November

 21,2005, Defendant, accompanied by counsel, proffered a plea of guilty to Count 1 of the
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 Superseding Indictment.

        On November 2 1,2005, the Magistrate Judge issued a Report and Recommendation

 documenting Defendant's plea. (Docket No. 321.) The Report indicates that Defendant was

 advised of his rights and that the hearing otherwise complied with all requirements imposed by

 the United States Constitution and Federal Criminal Procedure Rule 11. Finding that the plea

was made knowingly, intelligently, and voluntarily, the Magistrate recommends that this Court

 accept and enter Defendant's plea of guilty to Count 1 of the Superseding Indictment.

        Pursuant to General order 99-49, and absent any objections by the parties heretofore

made, the Court accepts and adopts the Report and Recommendation of the Magistrate Judge. In

doing so, the Court finds that Defendant knowingly, intelligently, and voluntarily entered a plea

of guilty to the Count 1 of the Superseding Indictment, and that all of the requirements imposed

by the United States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the

Court accepts Defendant's plea and enters it accordingly. This mater is referred to the Probation

Office for pre-sentence investigation.

        IT IS SO ORDERED.




Date: November 22,2005                          I   r
                                                        ED STATES DISTRICT JUDGE
